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13                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
14                             WESTERN DIVISION
15

16
     MICHELLE STERIOFF, individually and ) Case No. 2:22-cv-09230-GW-GJSx
17   on behalf of all others similarly situated, )
                                                 ) NOTICE OF VOLUNTARY
18                       Plaintiff,
                                                 ) DISMISSAL PURSUANT TO
19         v.                                    ) FEDERAL RULE OF CIVIL
                                                 ) PROCEDURE 41(a)(1)(A)(i) WITH
20   LIVE NATION ENTERTAINMENT,                  ) PREJUDICE
21   INC., and TICKETMASTER, LLC,                )
                         Defendants.             ) Complaint Filed: December 20, 2022
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                                                 )
23                                               ) Judge: Hon. George H. Wu
                                                 ) Trial Date: Not Set
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                                                            NOTICE OF DISMISSAL
                                                    Case No. 2:22-cv-09230-GW-GJSx
Case 2:22-cv-09230-GW-GJS Document 64 Filed 12/12/23 Page 2 of 2 Page ID #:638




 1         TO THE COURT, CLERK OF THE CENTRAL DISTRICT OF
 2   CALIFORNIA, AND ALL COUNSEL OF RECORD:
 3         PLEASE TAKE NOTICE that Plaintiff Michelle Sterioff, by and through her
 4   counsel of record, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), hereby
 5   dismisses the above-captioned litigation with prejudice. Further, dismissal without
 6   leave of Court is proper under Rule 41(a)(1)(A)(i), as Defendants have not answered
 7   the First Amended Complaint or filed a motion for summary judgment.
 8

 9
     Dated: December 12, 2023                    Respectfully submitted,
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11                                               FARUQI & FARUQI, LLP
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                                                      Case No. 2:22-cv-09230-GW-GJSx
